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 SANDRA R. BROWN
 Acting United States Attorney
 By: AMANDA M. BETTINELLI (233927)
 United States Courthouse                                                            UEC ~4~ 7
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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                                ~ CASE M11v1BER
                                     PLA~T~'F,            I                   17-MJ-02435
                            v.
 NICHOLAS BISHOP,
                                                                   ORDER FOR DISMISSAL
   aka "Nick the Wrangler,"                                    OF MAGISTRATE'S COMPLAINT
                                     DEFENDANT

       A Magistrate's Complaint having been filed before the United States Magistrate Frederick F.

Mumm in Los Angeles, California, against the above-named defendant, charging violation of Title 16,

United States Code, Sections 3372(a)(2)(A), 3371(g), 3373(d)(1)(B); Title l8, United States Code,

Sections 2(a),(b), and the United States Attorney having moved for a dismissal of the complaint,

       IT IS HEREBY ORDERED that said Complaint be dismissed as to defendant NICHOLAS

BISHOP, aka "Nick the Wrangler," without prejudice and that defendant be released if in custody solely

on this charge, or if not, that bond, if any, be exonerated on this charge.


Date:~l~~~
                                                       United States Magistrate Judge


Presented by:

/s/
AMANDA M. BETTINELLI
Assistant United States Attorney

Complaint Filed: September 29,2017

                                                      Is the person in custody?
                                                              YES               ❑
                                                              NO              ~
